Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 1 of 21 PageID 1




                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA

                                    )   Case No.: 6:22-cv-01932
  Rochelle Ward, individually
  and on behalf of others           )
  similarly situated,               )   CLASS ACTION
                                    )
                                    )   CLASS ACTION COMPLAINT
             Plaintiff,
                                    )   FOR
                          v.              1. VIOLATIONS OF THE
                                    )        TELEPHONE CONSUMER
  Full Sail, LLC d/b/a Full Sail    )        PROTECTION ACT, 47
  University,                       )        U.S.C. § 227
                                          2. VIOLATIONS OF
               Defendants.          )        FLORIDA STATUTE §
                                    )        501.059
                                    )
                                    )   JURY TRIAL DEMANDED
                                    )
                                    )
                                    )
                                    )
                                INTRODUCTION

    1. Plaintiff, Rochelle Ward, brings this action against Defendant Full Sail

      University (“Defendant”), to secure redress for violations of the

      Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 and

      Florida Statute § 501.059.

    2. This is a putative class action pursuant to the Telephone Consumer

      Protection Act, 47 U.S.C. § 227 et seq., (the “TCPA”) and Fla. Stat. §

      501.059.




                                        1
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 2 of 21 PageID 2




    3. Defendant is a private for-profit university. To promote its services,

      Defendant engages in unsolicited marketing, harming thousands of

      consumers in the process.

    4. Through this action, Plaintiff seeks injunctive relief to halt Defendant’s

      illegal conduct, which has resulted in the invasion of privacy,

      harassment, aggravation, and disruption of the daily life of thousands of

      individuals. Plaintiff also seeks statutory damages on behalf of herself

      and members of the class, and any other available legal or equitable

      remedies.

    5. Plaintiff makes these allegations on information and belief, with the

      exception of those allegations that pertain to Plaintiff, or to Plaintiff’s

      counsel, which Plaintiff alleges on personal knowledge.

    6. While many violations are described below with specificity, this

      Complaint alleges violations of the statutes cited in its entirety.

    7. Unless otherwise stated, all the conduct engaged in by Defendant took

      place in the Middle District of Florida.

    8. Any violations by Defendant was knowing, willful, and intentional, and

      Defendant did not maintain procedures reasonably adapted to avoid any

      such violation.




                                        2
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 3 of 21 PageID 3




    9. Unless otherwise indicated, the use of Defendant’s names in this

      Complaint includes all agents, employees, officers, members, directors,

      heirs, successors, assigns, principals, trustees, sureties, subrogees,

      representatives, and insurers of Defendant’s named.

                            JURISDICTION AND VENUE

    10. Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges

      violations of a federal statute, the TCPA. Jurisdiction is also proper under

      28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class, which

      will result in at least one class member belonging to a different state than

      that of Defendant. Plaintiff seeks up to $1,500.00 (one-thousand-five-

      hundred dollars) in damages for each call in violation of the TCPA,

      which, when aggregated among a proposed class numbering in the tens

      of thousands, or more, exceeds the $5,000,000.00 (five-million dollars)

      threshold for federal court jurisdiction under the Class Action Fairness

      Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and

      CAFA jurisdiction are present.

    11. Venue is proper in the United States District Court for the Middle

      District of Florida pursuant to 28 U.S.C. § 1391(b) and (c) because

      Defendant is deemed to reside in any judicial district in which it is




                                        3
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 4 of 21 PageID 4




      subject to the court’s personal jurisdiction, and because Defendant

      provides and markets its services within this district thereby establishing

      sufficient contacts to subject it to personal jurisdiction.       Further,

      Defendant’s tortious conduct against Plaintiff occurred within the State

      of Florida and, on information and belief, Defendant has made the same

      phone calls complained of by Plaintiff to other individuals within this

      judicial district, such that some of Defendant’s acts in making such calls

      have occurred within this district, subjecting Defendant to jurisdiction in

      the State of Florida.

                                     PARTIES

    12.   Plaintiff is a natural person residing in the State of Arizona.

    13.   Defendant is a company based in Winter Park, Florida, conducting

      business in the education field.

                                   THE TCPA

    15. The TCPA prohibits: (1) any person from calling a cellular telephone

      number; (2) using an automatic telephone dialing system; (3) without the

      recipient’s prior express consent. 47 U.S.C. § 227(b)(1)(A).

    16. The TCPA defines an “automatic telephone dialing system” (“ATDS”)

      as “equipment that has the capacity - (A) to store or produce telephone




                                         4
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 5 of 21 PageID 5




      numbers to be called, using a random or sequential number generator;

      and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

    17. In an action under the TCPA, a plaintiff must only show that the

      defendant “called a number assigned to a cellular telephone service using

      an automatic dialing system or prerecorded voice.” Breslow v. Wells

      Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd,

      755 F.3d 1265 (11th Cir. 2014).

    18. The Federal Communications Commission (“FCC”) is empowered to

      issue rules and regulations implementing the TCPA. According to the

      FCC’s findings, calls in violation of the TCPA are prohibited because,

      as Congress found, automated or prerecorded telephone calls are a

      greater nuisance and invasion of privacy than live solicitation calls, and

      such calls can be costly and inconvenient. The FCC also recognized that

      wireless customers are charged for incoming calls whether they pay in

      advance or after the minutes are used.          Rules and Regulations

      Implementing the Telephone Consumer Protection Act of 1991, CG

      Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).

    19. In 2012, the FCC issued an order tightening the restrictions for

      automated telemarketing calls, requiring “prior express written consent”




                                        5
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 6 of 21 PageID 6




      for such calls to wireless numbers. See In the Matter of Rules &

      Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27

      F.C.C.R. 1830, 1838 ¶ 20 (Feb. 15, 2012) (emphasis supplied).

    20. To obtain express written consent for telemarketing calls, a defendant

      must establish that it secured the plaintiff’s signature in a form that gives

      the plaintiff a “‘clear and conspicuous disclosure’ of the consequences

      of providing the requested consent….and having received this

      information, agrees unambiguously to receive such calls at a telephone

      number the [plaintiff] designates.”         In re Rules & Regulations

      Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830,

      1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15,

      2012).

    21. The TCPA regulations promulgated by the FCC define “telemarketing”

      as “the initiation of a telephone call or message for the purpose of

      encouraging the purchase or rental of, or investment in, property, goods,

      or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

      communication constitutes telemarketing, a court must evaluate the

      ultimate purpose of the communication. See Golan v. Veritas Entm't,

      LLC, 788 F.3d 814, 820 (8th Cir. 2015).




                                        6
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 7 of 21 PageID 7




    22. “‘Telemarketing’ occurs when the context of a call indicates that it was

      initiated and transmitted to a person for the purpose of promoting

      property, goods, or services.” Golan, 788 F.3d at 820 (citing 47 C.F.R.

      § 64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12);       In re Rules and

      Regulations Implementing the Telephone Consumer Protection Act of

      1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003 WL 21517853, at *49).

    23. The FCC has explained that calls motivated in part by the intent to sell

      property, goods, or services are considered telemarketing under the

      TCPA. See In re Rules and Regulations Implementing the Telephone

      Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142

      (2003). This is true whether call recipients are encouraged to purchase,

      rent, or invest in property, goods, or services during the call or in the

      future. Id.

    24. In other words, offers “that are part of an overall marketing campaign

      to sell property, goods, or services constitute” telemarketing under the

      TCPA. See In re Rules and Regulations Implementing the Telephone

      Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136 (2003).

    25. If a call is not deemed telemarketing, a defendant must nevertheless

      demonstrate that it obtained the plaintiff’s prior express consent. See In




                                       7
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 8 of 21 PageID 8




      the Matter of Rules and Regulaions Implementing the Tel. Consumer

      Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express

      consent “for non-telemarketing and non-advertising calls.”)

    26. As recently held by the United States Court of Appeals for the Ninth

      Circuit: “Unsolicited telemarketing phone calls or text messages, by their

      nature, invade the privacy and disturb the solitude of their recipients. A

      plaintiff alleging a violation under the TCPA ‘need not allege any

      additional harm beyond the one Congress has identified.’” Van Patten

      v. Vertical Fitness Grp., No. 14-55980, 2017 U.S. App. LEXIS 1591, at

      *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v. Robins, 136 S. Ct.

      1540, 1549 (2016) (emphasis original)).

                               FLA. STAT. §   501.059

    27. It is a violation of the FTSA to “make or knowingly allow a telephonic

       sales call to be made if such call involves . . . the playing of a recorded

       message when a connection is completed to a number without the prior

       express written consent of the called party.” Fla. Stat § 501.059(8)(A).

    28. The statute defines “telephonic sales call” as a “telephone call, text

       message, or voicemail transmission to a consumer for the purpose of

       soliciting a sale of any consumer goods or services, soliciting an




                                        8
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 9 of 21 PageID 9




       extension of credit for consumer goods services, or obtaining

       information that will or may be used for the direct solicitation of a sale

       of consumer goods or services or an extension of credit for such

       purposes.” Fla. Stat. § 501.059(1)(I).

    29. A person will be defined as a “called party” if they are a “person who

       is the regular user of the telephone number that receives a telephonic

       sales call,” under Fla. Stat. § 501.059(1)(A).

    30. An “unsolicited telephonic sales call” is one that is made other than in

       direct response to the express request of the person who is called. under

       Fla. Stat. § 501.059(4)(K).

                            GENERAL ALLEGATIONS

    31. At all times relevant, Plaintiff was an individual residing within the

       State of Arizona.

    32. At all times relevant, Defendant conducted business in the State of

      Florida.

    33. On September 3, 2021, Plaintiff received a phone call from Defendant,

      but did not answer.

    34. From September 2021 through the end of November 2021, Plaintiff

      received approximately nineteen more unsolicited calls from Defendant.




                                       9
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 10 of 21 PageID 10




     35. On or around December 1, 2021, Plaintiff answered the call and was

       met with a prerecorded voice, which asked her various questions.

       Plaintiff repeatedly told this prerecorded voice to stop calling her.

     36. Before the calls to Plaintiff, Plaintiff had never visited the website of

       Defendant, nor had she ever interacted with Defendant.

     37. Plaintiff does not have a high school diploma, and thus is not eligible

       to attend a university. Further, Plaintiff does not have the desire to attend

       Defendant’s university.

     38. Plaintiff received the phone calls from this judicial district and,

       therefore, Defendant’s violation of the TCPA occurred within this

       district. Upon information and belief, Defendant made other phone calls

       to individuals residing within this judicial district and throughout the

       United States.

     39. At no point in time did Plaintiff provide Defendant with her express

       written consent to be contacted. This is in violation of 47 U.S.C. §

       227(a)(5).




                                        10
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 11 of 21 PageID 11




     40. Defendant’s unsolicited phone calls caused Plaintiff actual harm,

       including invasion of her privacy, aggravation, annoyance, intrusion on

       seclusion, trespass, and conversion.

     41. Defendant’s phone calls also inconvenienced Plaintiff and caused

       disruption to her daily life.

     42. Defendant’s unsolicited phone calls caused Plaintiff actual harm.

       Specifically, Plaintiff estimates that she spent numerous hours

       investigating the unwanted phone calls including how they obtained her

       number and who the Defendant was.

     43. Furthermore, Defendant’s phone calls took up memory on Plaintiff’s

       cellular phone. The cumulative effect of unsolicited phone calls and

       voicemails like Defendant’s poses a real risk of ultimately rendering the

       phone unusable for other purposes as a result of the phone’s memory

       being taken up.

                              CLASS ALLEGATIONS

     PROPOSED CLASS

     46. Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23,

       on behalf of herself and all others similarly situated.

     47. Plaintiff brings this case on behalf of two Classes defined as follows:




                                         11
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 12 of 21 PageID 12




     The Federal TCPA Class

        All persons within the United States who received any
        solicitation/telemarketing phone calls from Defendant to said person’s
        cellular telephone made through the use of any automatic telephone
        dialing system or an artificial or prerecorded voice and such person had
        not previously consented to receiving such calls within the four years
        prior to the filing of this Complaint.

     The Florida TCPA Class

        All persons within the State of Florida who received any
        solicitation/telemarketing phone calls from Defendant to said person’s
        cellular telephone and such person had not previously consented to
        receiving such calls within the four years prior to the filing of this
        Complaint.

     48. Defendant and its employees or agents are excluded from the Class.

       Plaintiff does not know the number of members in the Class but believes

       the Class members number in the several thousands, if not more.

     NUMEROSITY

     49. Upon information and belief, Defendant has placed automated and/or

       prerecorded calls to cellular telephone numbers belonging to thousands

       of consumers throughout the United States without their prior express

       consent. The members of the Class, therefore, are believed to be so

       numerous that joinder of all members is impracticable.

     50. The exact number and identities of the Class members are unknown at

       this time and can only be ascertained through discovery. Identification


                                       12
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 13 of 21 PageID 13




       of the Class members is a matter capable of ministerial determination

       from Defendant’s call records.

        COMMON QUESTIONS OF LAW AND FACT

     51. There are numerous questions of law and fact common to the Class

       which predominate over any questions affecting only individual

       members of the Class. Among the questions of law and fact common to

       the Class are:

        (1)    Whether Defendant made non-emergency calls to Plaintiff’s and

           Class members’ cellular telephones using an ATDS or pre-recorded

           voice;

        (2)    Whether Defendant can meet its burden of showing that it

           obtained prior express written consent to make such calls;

        (3)    Whether Defendant’s conduct was knowing and willful;

        (4)    Whether Defendant is liable for damages, and the amount of such

           damages; and

        (5)    Whether Defendant should be enjoined from such conduct in the

           future.

     52. The common questions in this case are capable of having common

       answers. If Plaintiff’s claim that Defendant routinely made phone calls




                                        13
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 14 of 21 PageID 14




       to telephone numbers assigned to cellular telephone services is accurate,

       Plaintiff and the Class members will have identical claims capable of

       being efficiently adjudicated and administered in this case.

     TYPICALITY

     53. Plaintiff’s claims are typical of the claims of the Class members, as they

       are all based on the same factual and legal theories.

         PROTECTING THE INTERESTS OF THE CLASS MEMBERS

     54. Plaintiff is a representative who will fully and adequately assert and

       protect the interests of the Class and has retained competent counsel.

       Accordingly, Plaintiff is an adequate representative and will fairly and

       adequately protect the interests of the Class.

       PROCEEDING VIA CLASS ACTION IS SUPERIOR AND

       ADVISABLE

     55. A class action is superior to all other available methods for the fair and

       efficient adjudication of this lawsuit, because individual litigation of the

       claims of all members of the Class is economically unfeasible and

       procedurally impracticable. While the aggregate damages sustained by

       the Class are in the millions of dollars, the individual damages incurred

       by each member of the Class resulting from Defendant’s wrongful




                                        14
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 15 of 21 PageID 15




       conduct are too small to warrant the expense of individual lawsuits. The

       likelihood of individual Class members prosecuting their own separate

       claims is remote, and, even if every member of the Class could afford

       individual litigation, the court system would be unduly burdened by

       individual litigation of such cases.

     56. The prosecution of separate actions by members of the Class would

       create a risk of establishing inconsistent rulings and/or incompatible

       standards of conduct for Defendant. For example, one court might enjoin

       Defendant from performing the challenged acts, whereas another may

       not. Additionally, individual actions may be dispositive of the interests

       of the Class, although certain class members are not parties to such

       actions.

                                      COUNT I

                   VIOLATIONS OF THE TCPA, 47 U.S.C. § 227(B)

                    (ON BEHALF OF PLAINTIFF AND THE CLASS)

     57. Plaintiff re-alleges and incorporates the foregoing allegations as if fully

       set forth herein.

     58. It is a violation of the TCPA to make “any call (other than a call made

       for emergency purposes or made with the prior express consent of the




                                         15
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 16 of 21 PageID 16




       called party) using any automatic telephone dialing system or pre-

       recorded voice … to any telephone number assigned to a … cellular

       telephone service ….” 47 U.S.C. § 227(b)(1)(A)(iii).

     59. Defendant – or third parties directed by Defendant – used equipment

       having the capacity to dial numbers without human intervention to make

       non-emergency telephone calls to the cellular telephones of Plaintiff and

       the other members of the Class defined below.

     60. These calls were made without regard to whether or not Defendant had

       first obtained express permission from the called party to make such

       calls. In fact, Defendant did not have prior express consent to call the

       cell phones of Plaintiff and the other members of the putative Class when

       its calls were made.

     61. Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by

       using an automatic telephone dialing system and/or pre-recorded voice

       messages to make non-emergency telephone calls to the cell phones of

       Plaintiff and the other members of the putative Class without their prior

       express written consent.

     62. Defendant knew that it did not have prior express consent to make these

       calls and knew or should have known that it was using equipment that at




                                       16
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 17 of 21 PageID 17




       constituted an automatic telephone dialing system. The violations were

       therefore willful or knowing.

     63. As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the

       TCPA, Plaintiff and the other members of the putative Class were

       harmed and are each entitled to a minimum of $500.00 in damages for

       each violation. Plaintiff and the class are also entitled to an injunction

       against future calls. Id.

                                      COUNT II

       KNOWING AND/OR WILLFUL VIOLATION OF THE TCPA, 47 U.S.C. §

                                          227(B)

                    (ON BEHALF OF PLAINTIFF AND THE CLASS)

     64. Plaintiff re-alleges and incorporates the foregoing allegations as if fully

       set forth herein.

     65. At all times relevant, Defendant knew or should have known that its

       conduct as alleged herein violated the TCPA.

     66. Defendant knew that it did not have prior express consent to make these

       calls and knew or should have known that its conduct was a violation of

       the TCPA.




                                         17
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 18 of 21 PageID 18




     67. Because Defendant knew or should have known that Plaintiff and Class

       Members had not given prior express consent to receive its autodialed

       calls with pre-recorded voice messages, the Court should treble the

       amount of statutory damages available to Plaintiff and the other members

       of the putative Class pursuant to § 227(b)(3) of the TCPA.

     68. As a result of Defendant’s violations, Plaintiff and the Class Members

       are entitled to an award of $1,500.00 in statutory damages, for each and

       every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

       227(b)(3)(C).

                                     COUNT III

                       VIOLATIONS OF FLA. STAT. § 501.059

                    (ON BEHALF OF PLAINTIFF AND THE CLASS)

     69. Plaintiff re-alleges and incorporates the foregoing allegations as if fully

        set forth herein.

     70. Defendant – or third parties directed by Defendant – used equipment

        having the capacity to dial numbers without human intervention to

        make non-emergency telephone calls to the cellular telephones of

        Plaintiff and the other members of the Class in violation of Fla. Stat §

        501.059(8)(A).




                                        18
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 19 of 21 PageID 19




     71. Under Fla. Stat § 501.059(1)(G), prior consent includes the signature of

        the called party, the telephone of the called party, as well as clear

        authorization to the person making or allowing the telephonic sales call

        to make the call. Defendant did not have prior express consent to call

        the cell phones of Plaintiff and the other members of the putative Class

        when these telephonic sales calls were made. Id.

     72. Defendant has, therefore, violated Fla. Stat § 501.059(8)(A) and Fla.

        Stat § 501.059(1)(G) by using an automatic telephone dialing system

        and/or pre-recorded voice messages to make non-emergency telephone

        calls to the cell phones of Plaintiff and the other members of the

        putative Class without their prior express written consent.

     73. Defendant knew that it did not have prior express consent to make these

        calls and knew or should have known that it was using equipment that

        at constituted an automatic telephone dialing system. The violations

        were therefore willful or knowing.

     74. As a result of Defendant’s conduct and pursuant to Fla. Stat §

        501.059(10)(B), Plaintiff and the other members of the putative Class

        were harmed and are each entitled to a minimum of $500.00 in damages

        for each violation.




                                       19
Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 20 of 21 PageID 20




     WHEREFORE, Plaintiff, on behalf of himself and the other members of

       the Class, prays for the following relief:

        a. A declaration that Defendant’s practices described herein violate the

             Telephone Consumer Protection Act, 47 U.S.C. § 227 and Florida

             Statute § 501.059;

        b. An injunction prohibiting Defendant from using a telephone dialing

             system to call telephone numbers assigned to cellular telephones

             without the prior express permission of the called party;

        c. An award of actual and statutory damages; and

        d. Such further and other relief the Court deems reasonable and just.

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Case 6:22-cv-01932-PGB-DCI Document 1 Filed 10/20/22 Page 21 of 21 PageID 21




                                  TRIAL BY JURY

     69. Pursuant to the seventh amendment to the Constitution of the United

        States of America, Plaintiff is entitled to, and demands, a trial by jury.



     Dated: October 20, 2022                           Respectfully submitted,

                                         BY: /S/ RYAN L. MCBRIDE______
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                                        21
